Case 3:08-cv-01115-CRB Document 18-1 Filed 06/29/09 Page 1 of 23

EXHIBIT 1
ae

bd

 

 

 

 
Case 3:08-cv-01115-CRB Document 18-1 Filed 06/29/09 Page 3 of 23

EXHIBIT 2
 
Case 3:08-cv-01115-CRB Document 18-1 Filed 06/29/09 Page 5 of 23

EXHIBIT 3
 
Case 3:08-cv-01115-CRB Document 18-1 Filed 06/29/09 Page 7 of 23

EXHIBIT 4
 

 
Case 3:08-cv-01115-CRB Document 18-1 Filed 06/29/09 Page 9 of 23

EXHIBIT 5
 
Case 3:08-cv-01115-CRB Document 18-1 Filed 06/29/09 Page 11 of 23

EXHIBIT 6
 
Case 3:08-cv-01115-CRB Document 18-1 Filed 06/29/09 Page 13 of 23

EXHIBIT 7
Case 3:08-cv-01115-CRB Document 18-1 Filed 06/29/09 Page 14 of 23

reo

Forensic Medical Group, Inc
www.imag-inc.com

' 4860 Pennsylvania Ave. Ste 150 Brian L. Pelerson M.D. “Ikechi Q, Ogan, M.D?
-Fairfield, California 94533 Mark A, Super M.D. Gregory,D. -Reiber, M. D.
wt at Te we maArnold R, Josselson, M.D. Kelly A. “A urs M, D...

wat

 
 

 

 

   
    

“ yauTOPsy o D EXTERNAL EXAMINATION
CASE NO. 07-0272..:

NAME: To 8 _ ws Oo
we wee pl A ge vig eB _(SONO7- 068)

 

TIME: 0845.

" DATE: 02-23-2007" os
_ _ TIME: ‘2247.

 

AGE: 22. oe SEX: Male. RAGE: African American _

 

. _auTorey FINDINGS:,

 

  
 
   
  

1. “multiple ‘gunshot Wounds;
oe RS Tiree gunshot wounds of right laters shest: *
One graze ‘wound into-dernils: £7." 20
“Tayo penetrating gunshot wads. wit . ree
:, Damage-of right! ribs ;Z-and:8 .. sightlung,. ‘ight hemidiaphragm. ‘and ver. Bg
5. Right! hemopneymot rax adm ed. withspulpified: iver.. we ee
_ oFragments.. oflead and. jacket recovered fi from pulpitied tissue...
” shit: Land pWalds 0 Ls

   
 
 

     
 
        
 
 
  

   

One. penetrating gunshot wound of left axilla upper, arm with:
“i. “Damage of leff, proximal humerus, left’clavicle’and associated soft tissues.
ii, -Projectile recovered from left clavicle.
iii, Directionality of upward and left to right.
iv, Indeterminate range of fire,
C. Seven gunshot wounds of. posterior torso:
i. . One perforating and two penetrating gunshot wounds with:
‘a, Damage of left. rib 8, right rib 5,vertebra 73, both.lungs and heart,
b, ° Left hernopneumothorax and residual hemopericardium.
._c, Fragments of lead and jacket r recovered from wound tracts.
' d, General directionality: ‘of back: to front, Tight to left and upward.
& * Indeterminate range of fire. °°
‘il. - Four superficial gunshot defects:
a. Without penetration. through body wall
b. With projectile fragments recovered from wounds.

_ see", Consistent with injuries from fragmented bullets. . me ING c a,
.-D. Gne-perforating- ‘gunshot wound of left d distal thigh with: - owe ms
‘j... Fractured femut.- . . 7 Bien | toa Bein

j ji. Directionality of back to front,
ili, Indeterminate range of fire.

  

 

2. Abrasion and contusions, right thigh. , WAY 16 2007
. ‘3 Proximal aspiration of gastric contents.
i) 4. History that the deceased was shot by jaw enforcement officers.

 

 

<TR ARR Fax: (707) 426-1690
Case $:08-cv-01115-CRB Document 18-1 Filed 06/29/09 Page 15 of 23

NAME: THURSTON, HAhi " CASE NO, 07-0272 (SONO7-065)

oe CAUSE OF D DEATH: te Gareo| osniniei ob

  
     

KELLY A. ARTHUR, iM. D.
Perens athologist

 

KAAIWWg  ¢:
D:. 02-26-2007 °”
_ i. T08-02-200",

sroled.,

 

   

     
 

 

Ne ‘

"Rosa, CA,
* 2) bolton, P. Quartarolo,

“The scalp hair ha

Case 8:08-cv-O1115-CRB Document 18-1 Filed 06/29/09 Page 16 of 23

NAME: THURSTON, HAKI = CASE NO! 07-0272 (SONO7-065) ~ 3
The autopsy is -conducted at the Sonoma County Sheriff-Coronei's Morgue Facility..in- Santa.

Brockley and _D. Boffi (Sonoma County District Attorney's Office), A. Johnson (Santa Rosa.Police. --

Departmen), C. Notick and E. Mercado (Forensic Assistants), and L. Moratto (Intern)... 2). 7°

EX TERNAL.EXAMINATION:

The body.is, received in a black zipped body bag with an identification strip of tape.affixed tothe...

front. Blué plastic, Jock #015835 connects the zippers of the bag. The body. is additionally’; Ma,
— contained Within a’white zipped body pouch with a hospital sticker affixed. Postmortem.x-rays.of’, ®. ee
the entire body. are taken and reviewed prior to examination. A facial photograph: is taken.. oe

. Fingerprints are-taken after the autopsy. By report, GSR samples are obtained=from theshands:. =. ae

prior to examination.

When fifst viewed, the body -is nude. The body bag contains. approximately 500. mlicf liquid eee 4s

blood, There are no personal effects or jewelry.

“The body is that of a normally “developed, fairly-nourished and ‘muscular Black. male whose:
e is compatible with the recorded age of 22 years. His body, nude, weighs: 137 pounds:.- Ls

appearanc

" (61.6 kg) and measures 71 inches (180.3 cm) in length. The body is cold: subsequent: to +: .: ee
refrigeration, rigor mortis is fully developed, and lividity is reduced in amount on: the back of the MT
_, body where itis red-purple and partially fixed, Preservation is good in the absence of embalming. :

or head. ‘The neck is normally developed and symmetrical. ‘The chest is normally: developed and:

1.gymmetrical. Thé torso ‘has .multiple gunshot wounds, to’ be described." The abdomen is.: .. a

” gscaphoid arid muscular. The waist has a 26 % inch circumference-at.the umbilicus. The.external- ..--:

genitalia are that of a normal adult male. The anus and perineum are unremarkable. The back | -
and buttocks are symmetrical with accentuation of lumbar lordosis. The extremities are normally
developed and muscular, The fingernails are well-groomed. The left thigh has deformity related
to a gunshot wound, to be described. The right great toenail is dystrophic and malformed. The |

toenails are otherwise fairly groomed. ‘Body and extremity hair is average in amount for an adult .-
male. °°: oo mo, ee

IDENTIFYING MARKS AND SCARS:

Three monochromatic tattoos are on. the body: “jamilia” on the right upper chest, "akiyah" on the -
right ventral forearm, and “only the strong survive" on the left ventral forearm. . ,

The left anterior shoulder and upper arm have two oval hyperpigmented contracted scars, each. ° :.
approximately “ inch. A few irregular hypopigmented scars are.on the right knee. No, distinct . -. -
surgical scars are on the body. Cot ee eee

EVIDENCE OF THERAPY:

An endotracheal tube emerges from the mouth, secured around the neck with a Velcro collar; the
tube terminates in the proximal trachea. A hard cervical collar is around the neck. EKG pads are .
on the body. An intravascular catheter is in the left antecubital fossa. A yellow hospital band with

trauma designation is on the right ankle.

“begifining at 0845 -hours on February 26, 2007. Witnesses include A. .Vernon, M.-.~ . oT
‘D. Pedersen and G. Freitas (Sonoma County Sheriff's Department), .B.~ ae

e scalp has a full distribution; it is tightly curly, dark-brown and:maximally 1% inches inv; . fa 7 2.3
“straightened length: A well-groomed thin moustache and goatee beard are present: The irides.are-» "anette
: ‘brown’ andthe comeas.are Slightly cloudy. The conjunctival suffaces are pale and: without... «+
Paes petechiae. Thé’earlobes are each pierced once. The nose-and lips are. unremarkable. sche.teeth, Lopes

~... gre natural and in very good condition, No cutaneous injuries or bony crepitance are ondhe-face.= 6, se

 
 

“as encountered durin
with fragmen

~l GUNSHOT

 

Case 8:08-cv-01115-CRB Document 18-1 Filed 06/29/09 Page 17 of 23

NAME; THURSTON, HARI.  CASENO. 07-0272 (SON07-065) 4

EVIDENGE.OF INJURY:

os “MULTIPLE GUNSHOT WOUNDS:. The following: gunshot.wounds are described: and numbered | -- mo
g examination, without respectto severity of injury or potential chronology. of .... : os
F-fourteen -distinct#gunshot defects are identified including . one; superficial... ete ae

wounding:: A: total o
graze wound, seven entrance wounds, two exit wounds and four superficial wounds consistent .
ted projectile injuries. No sool or stippling js..on the. skin in association with any of ---::

the wounds.

WoOUKIDS OF RIGHT:LATERAL:CHEST:. Be Lost,
GSw#t: -A 3/8 x 3/46. inch horizontal superficial graze wound into dermis is on the right
upper lateral.chest wall: 16 inches

certain directionality.
m abrasion. --- wT def EPS

 GsWs #2 AND #3:

Enirances: : GSWi#2"is:a 7/4 6 inch;rourtd:gunshot, wound entrance located. 20 canes
inches below. the-top of:the head. roughly.in-the posterior, axillary line. The wound: -:.

has a thin rim: of:circumferential marginal:abrasion:. Gray material is in the wound,

wl margins from the.6.to-9:0'clack: positions: Adjacent to the posterior. margin of the --+:

_wound are twe Vertical oblique linear abrasions, % inch and % inch. GSW #3 is a
4/8:inch found-gunshet-wound of-entrance located 21.% inches below the top-of: -

 

 

abrasionwidest-to 1/B:inchrom the:5 to-+0,o'clock positions... . 2+) +

 

 

a Injuries» The projectiles

: fractures, of ribS+7 and:.8; and: injure the-tight lung, right hemidiaphragm and fight... - 5 os .

“a. lobe. of liver.*7The right Jung. and ‘superior. right lobe of liver have pulpification: «2.44.4 3

- ~The wounds. contribute: to a-right“hemopneumothorax of a residual 200 mi of -
- fiquid blood admixed with pulpified liver tissue.” , ,

Recovery: _ Postmortem x-rays show extensive fragmentation of projectiles; |
numerous smail-fragments of jacket and lead are recovered from the right lung
andliver. : i: 000. eee Sa ote oe

Path: The direction of the gunshot wounds is tight to left and upward.
Range: The range of fire is indeterminate based on autopsy findings.
GUNSHOT WOUND OF LEFT AXILLAIJPPER ARM (GSW #4): .

Entrance: At the junction of the, left axilla and medial upper arm, 16 inches below the top
of the head, is -a-1/8. inch round gunshot wound of entrarice. The wound has ..-.
circumferential marginal abrasion widest to 3/8 inch inferiorly. oo

Injuries: The left shoulder is penetrated by the bullet through the proximal humerus and
clavicle with extensive soft tissue hemorrhage and damage. ,

Recovery: Postmortem x-rays show extensive fragmentation of projectile. A deformed
fragment of lead is embedded in and recovered from the left distal clavicle.

Path: The direction of the gunshot wound is upward and left to right.

) below the top: of:the head and roughly in the mid.
axillary line. The anterior wound margin is abraded. No features of the wound suggest...
Two inches anterior and superior to the wound is’a 1/8 inch tan-red .pe.5

cud athe head roughly: in-theimid caxillary. line. ‘Fine wound has.circu mferential marginal ts:

| perforates. the-right ‘lateral chest wall with” gaping -..é.:7 loa

 
Case 3:08-cv-01115-CRB Document 18-1 Filed 06/29/09 Page 18 of 23

NAME: THURSTON, HAKT © CASE NO. 07-0272 (SON07-065) | . 5

Range: The range of fire is indeterminate based on autopsy findings.

‘GUNSHOT WOUNDS: OF POSTERIOR TORSO.

 

os 5: (RIGHT UPPER BACK):

ne Entrance: « “The tight upper. back ‘has: a 118 inch round gunshot wound of .
entrance with circumferential marginal abrasion widest to 4/8 inch from the 3 to 6~. «. oe
o'clock positions, located 4 a inches to the night of f posterior midline and, 16 4 ep even? ,

: Inches, below: the top of the head.

ce injuties: “The. bullet perforates: the posterior right chest ‘wall through rib: five, ‘oh OR vy

-@.; slung and right-side: of vertebral body: 73, The wound tract.through the right-lungs~s 20 sae
ise pulptfied. The wound ¢ contributes to the e right hemopneumothorar previously ae

fs described: : ma eo : hes

 

: Recovery: "Bostmortem x-rays show extensive fragmentation of projectile in n the: ope uae E bret
area of the right upper lung. A deformed lead fragment and several small
fragments: of | cket are recovered from the right side of vertebral body TS. 1 Preys fe

 

  
   
 

   
   
   

Path “The direction of the bull is! stack to front, ih io left and upwat Lis

 

Bre “he. > Nett mid Ieback ‘has a i, inch "round gunshot Wound of. entrance
jocated 2: Yf ‘inches to the left of posterior midline and 18 inches below the top of: oy
the:head. . “Fhe.wound has. cireumferential ‘marginal abrasion to.% inch,atthe 4 saa.
o'clock ° pasition. ” ‘Two punctaté injuries consistent with, secondary, thissile ‘OF’...
Pooareae fragmented: projectile: -wouhds:are inline: with the.10 o'clock margin of the: 2 wounds
Hore. onels & inch fromm the.margin ‘and the otfier is 4 inch irom the. margin.: ws

 

injuries: he bullet perforates the posterior left chest wall through rib eight and
the left lung. The wound contributes to a left hemopneumothorax with
approximately. 30.mi of liquid blood: remaining in the pleural cavity.

exit: The left lateral upper chest has a % inch horizontal oblique slit-like exit: -
wound located 17 % inches below the top of the head roughly in the posterior
axillary ine: The wound has a 2 inch pink contusion surrounding it.

. Path: The direction of the bullet is right to left and back to front.

Range’ The range of fire is indeterminate based on autopsy findings.

caw #7 (RIGHT MID BACK)

‘Entrance: The tight mid back. has a % inch round gunshot wound of ‘entrance
with circumferential pink marginal abrasion collar, located 4% inches to the right: °
of posterior midline and 20 4 inches below the top of the head.

‘Injuries: The bullet perforates the posterior right chest wall between ribs 8 and
9, right lung, pericardium and heart, and anterior right medial chest wall between
ribs 3 and 4 without exiting the body. The gunshot wound contributes to the right
hemopneumothorax previously described and an 80 ml _ residual
hemopericardium.
Case 3:08-cv-01115-CRB Document 18-1 Filed 06/29/09 Page 19 of 23

NAME: THURSTON, HAKI CASE NO. 07-0272 (SON07-065) . 5

C).

Recovery: Several fragments of lead and jacket are recovered from the heaft..., ,..-7: .
-~! and ‘pericardial cavity, including one fragment embedded in ‘myocardium of the. owe tg dew tt
anierior right ventricle and another embedded in epimyocardium at the base of » :*:. ee

. the-heart inthe path of the proximal left anterior descending coronary artery. - es .

 

: patti. The direction of the bullet.is back to‘front, upward and right to left.
, Range: ‘The:range of'fire is indeterminate.based on autopsy findings. .

GSWs #8 THROUGH #11 (SUPERFICIAL GUNSHOT DEFECTS): Four superficial, cstJeeo"

gunshot: Wounds/defects.are con-the ‘back, ‘each containing small fragments of lead: and/or’: ,

jacket: and‘snone with - perforation -.through.the body wall. «The wounds are those of: we

fragmented. projectiles. ‘GSW. #8 is a 3/8inch’ irregular wound. with wide irregular...

marginal abrasion to % ‘inch, Jocated 5 inches to the right of posterior midline and 4.9 -.:,

inches below the top of the head, The wound has embedded fragments of jacket,- GSW...

- #9 js a3/B:inch irregularly shaped wound.with.a fragment of yellow-metal jacket-entwined «29. wee geet ot

. in dark fabric evident externally. The wound has a 3/8.inch irregular abrasion from the 3. ne

wie, 7 tor4 o'clock'positions: and is: located:.2% 4aches: to"'the leftiof posterior midline and-:19:4

- + inches beldw:the top of the head. GSW#10-is a 7/16 inch irregularly round wound :with

- segid/8-ineh téar-at ‘the’8 o'clock: position! “he: wound: has-marginal-abrasion to-1/8"inch~

- nd islocated:1 %:inches to’the left of posterior midline and 22 % inches below the, top-of :

-? the head: Metallic: fragments are‘in the:wound: . GSW #14. 1s a ‘Y, inch-oval defect-with.~

marginal abrasion‘to % inch fromthe 4 to 5 o'clock: positions. The wound is ¥%, inches to .

> the right-of posterior. midline and 24 % inches. below: the top’ ofthe head. Two. small;
.. .deformed:lead: fragments. are recovered. from the WOUNG. ne ce te emt

 

  
 
 
 
 
 
 
 
 

   

 
 

  

ee bo. GUNSHOT WOUND OF LEFT:DISTAL THIGH(GSW #12)
Entrance: The-left-posteromedial: distal: thigh hasta 4/8:inch round ‘gunshot wound 20F : ced ,
. entrahce with circumferential marginal-abrasion located 2: ¥%, inches;above the posterior. 0-. ae: fob
. -crease-of the-kneess: - °°: SoS p bre ew Wand oo iver gs

_ The bullet perforates the ‘left thigh through the femur which is severely

  

injuries:
fractured,
Exit, A % inch irregularly round gunshot exit ‘Wound with discontinuous marginal ‘
abrasion is.on the left anterior distal thigh 2% inches above the mid-patella, Postmortem’: :.
x-rays show extensive fragmentation of projectile in’ the left-distal thigh. m

: Path: The direction of the bullet is back to front.
Range: The range of fire is indeterminate based on autopsy findings.

_ BLUNT FORCE INJURIES: A ¥% inch red-brown abrasion is on the right anterolateral distal thigh. .- =.
”- The right anterior thigh has a few light purple-pink contusions to % jnches.’ bee ets

. These injuries, having once been described, will not be:repeated.
INTERNAL EXAMINATION:

( ), The body is examined using the standard Y-shaped thoraco-abdominal and posterior scalp
we incisions.
 

‘positions, ‘The pleural, “pericardial, and: peritoneal cavities have no-adhesions;-..No, free ‘fluid’...

” HEAD:
The scalp, subscalpular area, and skull are unremarkable. The dura and dural sinuses are... >

.*  Jeptomeninges. ‘are thin” ancl delicate. - They cerebral hemispheres, are symmetrical -with.,an.
~~ unremarkable -gyral‘pattern: |

as . are no hemorrhagestin the deep. white:m
“ng ploodai iis. i EAB Te MARR we sigh
/ NECK: wich hk Pane

we The soft tissties;-stfapemu soles j and -prevertebral:fasciaa

IGARDIOVASCULAR SYSTEM: fee AD

. See. previous. description: he
> and free. of atheroscler
.-.distributed!* The: pericarditm and “epicardium .show-no ‘evidence of natural disease... The-heart.
usual origins .ancd: distributions: ‘and ‘is -without»significant atherosclerosis. or thrombosis: :: The... -

, . endocardium:is ‘smooth: Thefe-are no thrombi: in the cardiac chambers. The foramen,ovale is.
‘closed, The atrial and:ventricular septa are normally developed. The cardiac valves show no.. ;

See previous. description... .No.0

- masses or consolidation

Case 3:08-cv-01115-CRB Document 18-1 Filed 06/29/09 Page 20 of 23

NAME: THURSTON, HAn« CASE NO. 07-0272 (SON07-065) - 7

BODY CAVITIES:

See previous: description:.‘The “thoracic and-abdominal organs are .in their normal anatomic .. ., eye

 

collection ‘is in the. peritoneal-cavity:.-Subcutaneous ‘fat: of.the anterior abdominal wall:measures. ween Lo:
approximately 3/8 inch. co os . a

wee ee

  
 
 
 
  
   
    

unremarkable.” ‘There . are-no” epidural, ““subdural, sor subarachnoid hemorrhages: -: ‘The.:

neThe cranial nerves.are unremarkable; The blood vessels vat-the base.
of the brain“show no ssignificaint-atherosclerosis. The brain-weighs 1440 grams. Sections. through;
the cerebral :hemispheres;” cerebellum;and brainstem :reveal normal internal architecture, There...
atter-or:the basal-ganglia. The cerebral ventricles-contain:,

  
   
 

oe :

  
 

| re-unremarkable. The. -yoid pone. and.
larynx are ‘intact, The cervical:vertebral column:!s. unremarkable, . - woop tee OR 4

toate “

 

   

    

i inti mal. surface ‘of ‘the thoracic. and Abdominakaorta “ s, smoot

osis.¢he aorta .and its major branches and the great veins are. normally:

 

weighs 280 grams’.and has normal, external architecture, The coronary arterial system has, the

evidence of natural disease. there are no focal «| a

scars.

The myocardium is dark red-brown and firm, and

RESPIRATORY SYSTEM:

structions are in the upper airway. The mucosa of the larynx.» Doe
and trachea is smooth and tan, without petechiae. A small amount of gastric contents are in the
larynx and trachea, The lungs are normally lobated, and the pleural surfaces show no evidence ..

of natural disease: ‘The right lung weighs 330 grams and: the left lung weighs 190- grams. The.
pulmonary arteries contain no emboli and show no significant fatty streaking. The mucosa of the

major bronchi is tan and lumens have no unusual contents. Sectioning the lungs discloses a tan-

pink parenchyma with numerous very small green-brown macules throughout. There .are no

5 in-the Jungs.,-No significant. edema fluid exudes on sectioning. - -

HEPATOBILIARY SYSTEM:

See previous. description. ‘The liver weighs approximately 1230 grams. The capsular-surface
“shows no evidence of natural disease. The parenchyma is brown and has no masses, The porta
hepatis is unremarkable. The gallbladder contains less than 3 ml of yellow thin bile and no
calculi, The extrahepatic biliary ducts are unremarkable.
Case 8:08-cv-01115-CRB Document 18-1 Filed 06/29/09 Page 21 of 23

NAME: THURSTON, HAK! CASE NO. 07-0272 (SON07-065) : B

mL! _ DIGESTIVE SYSTEM:

_- The esophageal’ mucosa’ is gray-whité ‘and unrémarkable: ° Gastric contents are‘throughout the: :~ .
~:t- esophagus. ‘The'stomach contains approximately .300 ml of brown and tan partially-masticated ~~. pe!
oat food.including ‘fragments of rice; pea ‘and carrot. ‘There are no identifiable tablets, capsules, or pill. edn
fragments. The gastric mucosa has normal rugal folds and there are no ulcers. The:small and...
~ .. Jarge intestines are unremarkable externally, have a paucity of non-bloody contents,-and:.show no;. -
‘evidence of natural disease. The appendix is present and unremarkable. The: pancreas is...
-*sunremarkable externally and on sectioning. oe he et gt tet ee

 

vhs ‘GENITOURINARY SYSTEMS ve TSE SOB .

seiThe renal capstlles strip witti:éase, revealing smooth cortical surfaces.. The right-kidney:weighs § ! vty My
27430 grams and ‘the left kidney weighs 120-grams.- The: cortices are of normal thickness and thes:
a -<corticomedullary- junctions ate distinct: The calyces;-pelves;, and ureters are- unremarkable; -che*. oy
urinary bladder ‘contains -@pproximately-50 11 of:clear yellow-urihe.. The mucosa is white-pink-an
_ynremartkable: Thé prostate’gland is unremarkable. ~ . cto itumeairhgs T+

 

 

 

    

    
 
 
  

 

   
   

cs 3 4 ENDOCRINE SYSTEM er Fe om SP Benatar ee ub
soa gs The puter thy and torial Glandisare ss terrankelble xtehnally.and on sectioning. sp"
a os “The 4 ob. grain-spleen is covered.by a-smooth, blue-gray, in act capsule, the parenchymazis dark: Daa
oo © MUSCULOSKELETAL SYSTEM” 2 Conte

“$e previous: description. The: claviclés, ‘sternum and: pelvis have no: visualized. or.palpable 0+. :

ie “fractures: ‘Novother-rib, vertsbfal-column. or extremity:fractures are identified: Skeletal-muscle,is.- ~~ nes
‘dark red-and well-developed... The diaphragm ‘shows no evidence of natural disease. -.. 02-0 te. ,

 

SPECIMENS FOR HISTOLOGY:
Representative sections of the major organs are retained in formalin.
SPECIMENS:FOR TOXICOLOGY: ~

mo Femoral blood,. right chest blood, urine, and vitreous humor are retained. A purple-topped vial of
-£ blood is retained. An aliquot of femoral: blood is submitted for toxicology analysis: :+, .-"r-#:-s° ma

EVIDENCE COLLECTED: ~~
“:Sealp hair standards; fingernail trimmings and the recovered projectile elements are released to’

SCSO. |

~ KAAMwg
D: 02-26-2007
T: 03-02-2007

Cj

oN
Case 3:08-cv- 0111S CRB Document 18-1 Filed 06/29/02 Pape 22 of 23
Ae a Tu. 6-+-DV Date _

(4 Sex OT Case No. _ Autopsy. No. O4- O Ce

 

  
   
  

: ” 19S, Ue) wy

    

SW ® ©
pad A (l. Lo Me Ss vs

pew © a pea

  

be uh ules cos oo
Leh e ess ue OE

 
Case 3:08-cv-01115-CRB Document 18-1 Filed 06/29/09 Page 23 of 23

~ case No. OF OVS

- 2.
“p
pate FIO.

 

. wee ~ a -
Ay ¢. 1. bs iy vast wt an = Be ae
Joes”. NX (pf N GO
bu.) OO a :

   
  

.: (6S ed (Y) :

4 ‘l (L. UL O*,
Jaded Vu \.

p . (ove (4) pre

LSwn .

Sj (t We Le

fo

a |

 

to setae
